UNITED STATES OF AMERICA,

RAYMOND LIDDY,

   
   

Case 3:17-cr-02475-CAB Document 114 Filed 05/22/19 PaqdelD.6 FILED

 

UNITED STATES DISTRICT COURT; MAY 22 2019
SOUTHERN DISTRICT OF CALIFORNI

CLERIC US DISTRICT COURT
SQUTHE ISTRICT OF CALIFORNIA |
DEPUTY

 

 

 

 
     

Case No. 17CR2475-CAB
Plaintiff,

VS.
JUDGMENT OF DISMISSAL

Defendant.

 

 

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

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x]

an indictment has been filed in another case against the defendant and the Court has
granted the motion of the Government for dismissal of this case, without prejudice; or

the Court has dismissed the case for unnecessary delay; or _

the Court has granted the motion of the Government for dismissal, without prejudice; or
the Court has granted the motion of the defendant for a judgment of acquittal; or

a jury has been waived, and the Court has found the defendant not guilty; or

the jury has returned its verdict, finding the defendant not guilty;

of the offense(s) as charged in the Indictment/Information:

18:2252(a)(4)(B) — Possession of Minors Engaged in Sexually Explicit Conduct

 

Dated: _5/21/2019 (shen

Hon. Cathy Ann Bencivengo
United States District Judge

 

   

 
